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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


      UNITED STATES, et al.,

                                 Plaintiffs,

            vs.                                        No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                 Defendant.



                          GOOGLE LLC’S NOTICE OF FILING

           Defendant Google LLC (“Google”) files the attached REDACTED exhibits that are

     identified in the DEFENDANT GOOGLE LLC’S AMENDED CONSOLIDATED

     RESPONSE TO PLAINTIFFS’ MOTIONS TO SEAL MOTION TO SEAL (Doc. 880).
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     Dated: June 29, 2024.                Respectfully submitted,

     Of Counsel for Google LLC:           /s/ Craig C. Reilly
                                          Craig C. Reilly (VSB # 20942)
     Eric Mahr (pro hac vice)             THE LAW OFFICE OF
     Andrew Ewalt (pro hac vice)           CRAIG C. REILLY, ESQ.
     Julie Elmer (pro hac vice)           209 Madison Street, Suite 501
     Justina Sessions (pro hac vice)      Alexandria, VA 22314
     Lauren Kaplin (pro hac vice)         Telephone: (703) 549-5354
     Jeanette Bayoumi (pro hac vice)      Facsimile: (703) 549-5355
     Claire Leonard (pro hac vice)        craig.reilly@ccreillylaw.com
     Sara Salem (pro hac vice)
     Tyler Garrett (VSB # 94759)
     FRESHFIELDS BRUCKHAUS                Karen L. Dunn (pro hac vice)
     DERINGER US LLP                      Jeannie H. Rhee (pro hac vice)
     700 13th Street, NW, 10th Floor      William A. Isaacson (pro hac vice)
     Washington, DC 20005                 Joseph Bial (pro hac vice)
     Telephone: (202) 777-4500            Amy J. Mauser (pro hac vice)
     Facsimile: (202) 777-4555            Martha L. Goodman (pro hac vice)
     eric.mahr@freshfields.com            Bryon P. Becker (VSB #93384)
                                          Erica Spevack (pro hac vice)
     Daniel Bitton (pro hac vice)         PAUL, WEISS, RIFKIND, WHARTON &
     AXINN, VELTROP & HARKRIDER LLP       GARRISON LLP
     55 2nd Street                        2001 K Street, NW
     San Francisco, CA 94105              Washington, DC 20006-1047
     Telephone: (415) 490-2000            Telephone: (202) 223-7300
     Facsimile: (415) 490-2001            Facsimile (202) 223-7420
     dbitton@axinn.com                    kdunn@paulweiss.com

     Bradley Justus (VSB # 80533)
     David Pearl (pro hac vice)           Meredith Dearborn (pro hac vice)
     Allison Vissichelli (pro hac vice)   PAUL, WEISS, RIFKIND, WHARTON &
     AXINN, VELTROP & HARKRIDER LLP       GARRISON LLP
     1901 L Street, NW                    535 Mission Street, 24th Floor
     Washington, DC 20036                 San Francisco, CA 94105
     Telephone: (202) 912-4700            Telephone: (646) 432-5100
     Facsimile: (202) 912-4701            Facsimile: (202) 330-5908
     bjustus@axinn.com                    mdearnborn@paulweiss.com



                                          Counsel for Google LLC
